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                            UNITED STATES DISTRICT COURT FOR
                             THE DISTRICT OF MASSACHUSETTS


 PRESIDENT AND FELLOWS OF
 HARVARD COLLEGE and
 MASSACHUSETTS INSTITUTE OF
 TECHNOLOGY,
                 Plaintiff,
      v.
                                                       Civil Action No. 1:20-cv-11283-ADB
 UNITED STATES DEPARTMENT OF
 HOMELAND SECURITY; UNITED
 STATES IMMIGRATION AND CUSTOMS
 ENFORCEMENT; CHAD F. WOLF, in his
 official capacity as Acting Secretary of the
 United States Department of Homeland
 Security; and MATTHEW ALBENCE, in his
 official capacity as Acting Director United
 States Immigration and Customs
 Enforcement,

                        Defendants.


                                 DECLARATION OF STUDENT #8

       I, Student #8, hereby state under the penalty of perjury that the following statements are true

and accurate to the best of my knowledge:

       1.      I am a continuing graduate student at MIT. I am not revealing my name or certain

facts that may reveal my identity due to fears that, based on my participation in this litigation or

information disclosed in this declaration, I could face retaliation from immigration authorities or

harm in my home country or elsewhere.

       2.      I am from South Africa and am a South African citizen. I had been studying in the

United States on an F-1 visa. In March 2020, after the onset of the COVID-19 pandemic, I left MIT

on-campus housing and returned to South Africa. I left the United States because I felt that having

fewer people on campus was the best way to help keep myself and my community safe.
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       3.      I have been actively seeking a way to return to MIT but have been unable to do so

due to the closure of U.S. consular services, which has prevented me from renewing my F-1 entry

visa. And now, even if I am able to obtain a consular interview and renew by visa, which I am

hoping to do on an emergency basis, I am likely to be denied entry into the United States as result of

the COVID-19 and Fall 2020 directive issued by United States Immigration and Customs

Enforcement on July 6, 2020.

       4.      If I am required to remain in South Africa, I will be harmed in several ways:

               a.     First, working remotely on my research from South Africa would be very

       diﬃcult. South Africa experiences frequent “load-shedding” electricity shutdowns, cutting

       oﬀ access to the internet during these times. Even when electricity is available, it can be

       impossible to obtain a strong enough internet connection to meaningfully connect with my

       professors and peers.

               b.     Second, the six-hour time zone diﬀerence would make it diﬃcult for me to

       meaningfully participate in certain seminars, research group activities, and MIT community

       events. Being separated from my community at MIT has been an isolating and alienating

       experience that has greatly aﬀected my productivity and state of mind. I have often stayed

       up past midnight into the early hours of the morning to participate in events held in the

       evening Eastern Time, and have been unable to work the next day due to lack of sleep.

               c.     �ird, if not allowed entry into the United States, I would not be able to fulﬁll

       my duties as a Resident Assistant in an MIT Graduate Residence, thereby harming the

       experience of other students as well. My responsibility is to build community and a safe,

       respectful, and orderly living environment for all. I need to be living on-campus in the Fall

       to carry out these responsibilities and help fellow Resident Assistants and residents navigate

       a time that is made more diﬃcult by the COVID-19 pandemic.

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       5.      In addition to the aforementioned hardships, having to be in South Africa, rather than

on-campus at MIT, is endangering my physical and psychological wellbeing. Just this past week,

seven armed men invaded my home and robbed my family and I at gunpoint. We had extensive

security measures in place in and around our home because home invasions and armed robberies like

this are unfortunately not uncommon in South Africa. But those measures failed to prevent the

robbery. My family and I could have been killed. Since the robbery, I have experienced severe

panic and anxiety. I am desperate to return to the United States so that I can continue my studies

without fear of such an armed assault on my home.



       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.


Executed on this day, July 13, 2020

                                             /s/ Student #8
                                             Student #8




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